
PER CURIAM.
The appellant challenges an order of the trial court dismissing his motion to correct an illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a), for lack of jurisdiction because the appellant had a pending appeal of an earlier postcon-viction motion.
However, an appeal of a postconviction relief matter will not deprive the trial court of jurisdiction so long as the issues raised in the two cases are unrelated. See Bates v. State, 704 So.2d 562 (Fla. 1st DGA 1997); Kimmel v. State, 629 So.2d 1110 (Fla. 1st DCA 1994). A review of 1D03-2271 reveals that the issues pending appeal are unrelated to the issues raised in the present motion.
We therefore reverse the trial court’s dismissal of the appellant’s motion to correct an illegal sentence and remand for the trial court to address the appellant’s motion on the merits.
REVERSED and REMANDED.
ALLEN, VAN NORTWICK and BROWNING, JJ. concur.
